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 1    Janet L. Hickson (SBN: 198849)
      jhickson@shb.com
 2    Mayela C. Montenegro (SBN: 304471)
      mmontenegro@shb.com
 3    SHOOK, HARDY & BACON L.L.P.
      Jamboree Center
 4    5 Park Plaza, Suite 1600
      Irvine, California 92614-2546
 5    Telephone: 949-475-1500
      Facsimile: 949-475-0016
 6
      Attorneys for Defendants
 7    Wright Medical Technology, Inc.,
      Wright Medical Group, Inc., and
 8    MicroPort Orthopedics, Inc.
 9                                 UNITED STATES DISTRICT COURT
10                             SOUTHERN DISTRICT OF CALIFORNIA
11
12    VICTOR SIVILLI,                             )   Case No. '18CV2162 AJB JLB
                                                  )
13                    Plaintiff,                  )
                                                  )   DEFENDANTS WRIGHT MEDICAL
14            v.                                  )   TECHNOLOGY, INC., WRIGHT
                                                  )   MEDICAL GROUP, INC., AND
15    WRIGHT MEDICAL TECHNOLOGY,                      MICROPORT ORTHOPEDICS,
      INC., a Delaware corporation; WRIGHT        )   INC.’S NOTICE OF REMOVAL;
16    MEDICAL GROUP, INC., a Delaware             )   DEMAND FOR JURY TRIAL
      corporation; WRIGHT MEDICAL                 )
17    GROUP, N.V., a foreign corporation;         )   [Filed concurrently with Civil Cover
      MICROPORT ORTHOPEDICS, INC., a              )   Sheet; Decl. of Janet L. Hickson; and
18    Delaware corporation; and DOES 1-20,        )   Disclosure Statement]
                                                  )
19                    Defendants.                 )
                                                  )
20                                                )   Complaint Filed: August 1, 2018
21                                                )

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                   DEFENDANTS WRIGHT MEDICAL TECHNOLOGY, INC. AND WRIGHT MEDICAL GROUP, INC.’S
                                                   NOTICE OF REMOVAL; DEMAND FOR JURY TRIAL
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 1                         NOTICE OF REMOVAL OF CIVIL ACTION
 2          1.       Pursuant to 28 U.S.C. §§ 1332(a), 1441 and 1446, Defendants Wright
 3    Medical Technology, Inc., Wright Medical Group, Inc., and MicroPort Orthopedics,
 4    Inc. (collectively, “Defendants”) file their Notice of Removal in this case from the
 5    Superior Court of California for the County of San Diego, to the United States District
 6    Court for the Southern District of California. In support of this Notice of Removal,
 7    Defendants state as follows:
 8                                        INTRODUCTION
 9          2.       The United States District Court for the Southern District of California
10    has original subject matter jurisdiction of this civil action pursuant to 28 U.S.C. §
11    1332(a) because there is complete diversity among all properly joined and served
12    parties, and the amount in controversy exceeds $75,000.00, exclusive of interest and
13    costs. Under 28 U.S.C. § 1441(b), no party properly joined and served as a defendant
14    in this action is a citizen of California, the state in which this action was filed.
15          3.       This is a product liability action in which Plaintiff Victor Sivilli
16    (“Plaintiff”) alleges he underwent a right total hip arthroplasty on July 10, 2007, in
17    San Diego, California where he was implanted with a hip prosthesis device
18    manufactured by Defendants. He alleges that on August 15, 2016, the neck
19    component of the hip prosthesis broke, and on August 21, 2016, he underwent
20    revision surgery to remove the hip prosthesis. Plaintiff alleges he suffered injuries
21    following the fracture of the neck component.
22          4.       On August 1, 2018, Plaintiff filed an action entitled Victor Sivilli v.
23    Wright Medical Technology, Inc., et al. in the Superior Court of California for the
24    County of San Diego, Case No. 37-2018-00038527-CU-PL-CTL. (See Exs. A-2, B-2
25    (“Compl.”).)
26          5.       In the Complaint, Plaintiff asserts the following causes of action: (1)
27    strict products liability – manufacturing defect; (2) strict products liability – failure to
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                 DEFENDANTS WRIGHT MEDICAL TECHNOLOGY, INC. AND WRIGHT MEDICAL GROUP, INC.’S
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 1    warn; (3) negligence; (4) negligence – failure to recall/retrofit; (5) fraudulent
 2    misrepresentation; (6) fraudulent concealment; and (7) negligent misrepresentation.
 3          6.      Defendants Wright Medical Technology, Inc. and Wright Medical
 4    Group, Inc. were properly served with a summons and Complaint on August 28, 2018.
 5    (See Exs. A-1, A-2, B-1, B-2.)
 6          7.      Based on a proof of service filed in state court on September 11, 2018,
 7    Defendant MicroPort Orthopedics, Inc. was allegedly served on August 17, 2018 via
 8    personal service. (See Ex. C.)
 9          8.      As of the time of this Notice, Defendant Wright Medical Group, N.V. has
10    not been served. (See Declaration of Janet L. Hickson (“Hickson Decl.”) at ¶ 6.)
11
12                                 REMOVAL PROCEDURES
13          9.      Pursuant to 28 U.S.C. § 1446(a), a civil action in state court may be
14    removed to the United States District Court where such action is pending. Because
15    the state court action was filed in the Superior Court of California for the County of
16    San Diego, this Court has removal jurisdiction.
17          10.     Pursuant to 28 U.S.C. § 1446(b)(1), a notice of removal must be filed
18    within 30 days after service. Defendants were properly served with the summons and
19    Complaint on August 28, 2018. Thus, removal is timely.
20          11.     As required by 28 U.S.C. § 1446(a), attached herewith are copies of all
21    process, pleadings, and orders in this action that are in Defendants’ possession. (See
22    Exs. A-C).
23          12.     Venue is proper pursuant to 28 U.S.C. § 1391 because this action was
24    pending in the Superior Court of California for the County of San Diego.
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                 DEFENDANTS WRIGHT MEDICAL TECHNOLOGY, INC. AND WRIGHT MEDICAL GROUP, INC.’S
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 1                           DIVERSITY JURISDICTION EXISTS
 2                     BETWEEN THE PROPERLY JOINED PARTIES
 3          13.     This Court has original jurisdiction over this action under 28 U.S.C. §
 4    1332(a), and this action is removable under 28 U.S.C. §§ 1441 and 1446, in that there
 5    exists complete diversity of citizenship between Plaintiff and Defendants, and the
 6    amount in controversy exceeds $75,000, exclusive of interest and costs.
 7          A.      Complete Diversity Of Citizenship Exists Between Plaintiff And The
 8                  Properly Joined Defendants.
 9          14.      “Diversity jurisdiction requires complete diversity between the parties—
10    each defendant must be a citizen of a different state from each plaintiff.” In re
11    Digimarc Corp. Derivative Litig., 549 F.3d 1223, 1234 (9th Cir. 2008).
12          15.     Plaintiff alleges he is a resident and citizen of California. (Compl. ¶ 3.)
13    State citizenship for diversity purposes requires that the individual be domiciled in
14    that state. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983).
15    A person’s domicile is the place he or she resides with the intention to remain or to
16    which he or she intends to return. Kanter v. Warner-Lambert Co., 265 F.3d 853, 857
17    (9th Cir. 2001). Therefore, Plaintiff is a citizen of California.
18          16.     As for corporations, for the purposes of diversity jurisdiction, a
19    corporation is a citizen of the state in which it is incorporated and the state where it
20    has its principal place of business. Johnson v. Columbia Props. Anchorage, LP, 437
21    F.3d 894, 899 (9th Cir. 2006) (citing 28 U.S.C. § 1332(c)(1)).
22          17.     Defendant Wright Medical Technology, Inc. is a company incorporated
23    under the laws of the State of Delaware, with its principal place of business in
24    Memphis, Tennessee. (Compl. ¶ 4.) Therefore, Wright Medical Technology, Inc. is a
25    citizen of both Delaware and Tennessee.
26          18.     Defendant Wright Medical Group, Inc. is a company incorporated under
27    the laws of the State of Delaware, with its principal place of business in Memphis,
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                 DEFENDANTS WRIGHT MEDICAL TECHNOLOGY, INC. AND WRIGHT MEDICAL GROUP, INC.’S
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 1    Tennessee. (Compl. ¶ 5.) Therefore, Wright Medical Group, Inc. is a citizen of both
 2    Delaware and Tennessee.
 3          19.     Defendant MicroPort Orthopedics, Inc. is a company incorporated under
 4    the laws of the State of Delaware, with its principal place of business in Arlington,
 5    Tennessee. (Compl. ¶ 10.) Therefore, MicroPort Orthopedics, Inc. is a citizen of both
 6    Delaware and Tennessee.
 7          20.     While not yet served, Defendant Wright Medical Group, N.V. is alleged
 8    to be a foreign corporation with its United States headquarters in Memphis,
 9    Tennessee. (Compl. ¶ 8.)
10          21.     The fictitious defendants named as Does 1 through 20 should be, and
11    were, disregarded for purposes of assessing diversity of citizenship. 28 U.S.C. §
12    1441(b)(1).
13          22.     Since no defendant is a citizen of California, complete diversity exists
14    between Plaintiff and the properly joined defendants. The requisite diversity of
15    citizenship is satisfied under 28 U.S.C. § 1332(a)(1).
16          B.      The Amount In Controversy Exceeds $75,000.
17          23.     The amount in controversy in this case exceeds $75,000, exclusive of
18    interest and costs.
19          24.     A defendant may utilize the allegations in the complaint to establish the
20    amount in controversy. Singer v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 377
21    (9th Cir. 1997) (citing Allen v. R & H Oil & Gas Co., 63 F.3d 1326 (5th Cir. 1995)).
22    Alternatively, a defendant may set forth facts in its notice of removal demonstrating
23    that the amount in controversy exceeds $75,000. Singer, 116 F.3d at 377. In
24    determining the amount in controversy, a court can take into account claims for
25    general damages, pain and suffering, out-of-pocket loss, emotional distress, punitive
26    damages, and attorney’s fees. See Richmond v. Allstate Ins. Co., 897 F. Supp. 447,
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 1    449-50 (S.D. Cal. 1995) (considering general and special damages, punitive damages,
 2    and attorney’s fees).
 3             25.   Here, it is facially apparent from the Complaint that Plaintiff seeks
 4    damages in excess of $75,000. Plaintiff alleges that as a result of the hip prosthesis
 5    fracture, he was taken to the emergency department and underwent revision surgery to
 6    remove the hip prosthesis. (Compl. ¶¶ 71-72.) He alleges that he sustained injuries
 7    and damages including “(a) undergoing surgery to remove and replace the failed
 8    prosthesis system; (b) past and future pain and anguish, both in mind and in body; (c)
 9    permanent diminishment of his ability to participate in and enjoy the affairs of life; (d)
10    medical bills associated with the replacement procedure and recovery therefrom; (e)
11    future medical expenses; (f) loss of enjoyment of life; (g) loss of past and future
12    earnings and earning capacity; (h) disfigurement; and (i) physical impairment.” (Id. at
13    ¶ 93.)
14             26.   Plaintiff further alleges “he is entitled to prejudgment interest . . . from
15    the date that the defective Device was implanted into his right hip on July 10, 2007,
16    and from the date that the defective Device fractured in his right hip on or about
17    August 15, 2016, up to and including the date of judgment[.]” (Id. at ¶ 94.) Lastly,
18    Plaintiff seeks punitive damages, attorneys’ fees, and costs of litigation. (Id. at p. 23,
19    “Request for Relief.”)
20             27.   In light of Plaintiff’s allegations, it is facially apparent from the
21    Complaint that he seeks damages in excess of $75,000. See Korn v. Polo Ralph
22    Lauren Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008) (noting that “a
23    removing defendant is not obligated to research, state, and prove the plaintiff’s claims
24    for damages”) (internal quotations omitted) (emphasis in original); see also Roe v.
25    Michelin N. Am., Inc., 613 F.3d 1058, 1062 (11th Cir. 2010) (recognizing that “courts
26    may use their judicial experience and common sense in determining whether the case
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                 DEFENDANTS WRIGHT MEDICAL TECHNOLOGY, INC. AND WRIGHT MEDICAL GROUP, INC.’S
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 1    stated in a complaint meets federal jurisdictional requirements.”). The amount-in-
 2    controversy requirement is satisfied.
 3                                       CONCLUSION
 4          28.    As demonstrated above, this Court has original jurisdiction over this
 5    action pursuant to 28 U.S.C. § 1332(a) because complete diversity exists between
 6    Plaintiff and Defendants, and the amount in controversy, exclusive of interest and
 7    costs, exceeds the sum or value of $75,000.
 8          WHEREFORE, Defendants, pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446,
 9    remove this action from the Superior Court of California for the County of San Diego
10    to this Court. Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
11    being filed with the clerk of the Superior Court of California for the County of San
12    Diego, and written notice is being provided to Plaintiff.
13
      Dated: September 17, 2018                     Respectfully submitted,
14
                                                    SHOOK, HARDY & BACON L.L.P.
15
16
                                                    By:          /s/ Janet L. Hickson
17                                                                  Janet L. Hickson
                                                                 Mayela C. Montenegro
18                                                        Attorneys for Defendants
                                                          Wright Medical Technology, Inc. and
19                                                        Wright Medical Group, Inc.
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 1                               DEMAND FOR JURY TRIAL
 2            Defendants Wright Medical Technology, Inc., Wright Medical Group, Inc., and
 3    MicroPort Orthopedics, Inc. demand a trial by jury on all issues that may be tried by a
 4    jury.
 5
 6    Dated: September 17, 2018                   SHOOK, HARDY & BACON L.L.P.
 7
 8                                                By:           /s/ Janet L. Hickson
                                                                   Janet L. Hickson
 9                                                             Mayela C. Montenegro
                                                        Attorneys for Defendants
10                                                      Wright Medical Technology, Inc. and
                                                        Wright Medical Group, Inc.
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 1                                       EXHIBITS
 2
 3     Exhibit No.   Document                                               Page No.
 4     A-1           Summons served onto Wright Medical Technology,         10
                     Inc.
 5                   Complaint served onto Wright Medical Technology,
       A-2                                                                  13
 6                   Inc.

 7     A-3           Civil Case Cover Sheet                                 37
       A-4           Notice of Case Assignment and Case Management          39
 8                   Conference
 9     A-5           Notice of Eligibility to eFile and Assignment to       40
                     Imaging Department
10
       A-6           Alternative Dispute Resolution (ADR) Information       41
11
       B-1           Summons served onto Wright Medical Group, Inc.         43
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       B-2           Complaint served onto Wright Medical Group, Inc.       46
13
       B-3           Civil Case Cover Sheet                                 70
14
       B-4           Notice of Case Assignment and Case Management          72
15                   Conference
       B-5           Notice of Eligibility to eFile and Assignment to       73
16
                     Imaging Department
17
       B-6           Alternative Dispute Resolution (ADR) Information       74
18                   Proof of Service of Summons pertaining to MicroPort
       C                                                                    76
19                   Orthopedics, Inc.

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              DEFENDANTS WRIGHT MEDICAL TECHNOLOGY, INC. AND WRIGHT MEDICAL GROUP, INC.’S
                                              NOTICE OF REMOVAL; DEMAND FOR JURY TRIAL
